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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                            : Bankruptcy No. 19-20543-GLT
                                                  :
JESSICA L. JELLEY                                 : Chapter 7
                                                  :
                            Debtor                :
                                                  :
   Natalie Lutz Cardiello, Trustee                :
                                                  :
          Movant                                  :
                                                  :
     v.                                           :
                                                  :
   United States of America, Internal             :
   Revenue Service; Commonwealth of               :
   Pennsylvania, Department of Revenue;           :
   County of Allegheny; Moon Township;            :
   Moon Township School District; Jordan          :
   Tax Service; Keystone Collections Group,       :
   Weiss Burkard Kramer LLC and                   :
   Mortgage Electronic Registration Systems       :
   Inc., as a Nominee for Mortgage Lenders        :
   of America, LLC                                :
                                                  :
           Respondents                            :

          NOTICE OF INTENT TO SELL AND OF HEARING AND RESPONSE
    DEADLINE ON TRUSTEE’S MOTION TO SELL REAL ESTATE FREE AND CLEAR
OF THIRD PARTY INTERESTS, LIENS, CLAIMS, CHARGES AND/OR ENCUMBRANCES

TO THE RESPONDENT(S):

          You are hereby notified that the Movant seeks an order affecting your rights or property.

         Natalie Lutz Cardiello, Trustee for the above captioned Estate, intends to sell real estate located at
626 Thorn Hollow Dr, Coraopolis, PA (Deed Book Volume 16841, Page 222; Parcel ID No: 0419-B-
00367-0000-0) (“Real Property”) before Judge GREGORY L. TADDONIO in Courtroom A, 54th Floor,
US Steel Tower, 600 Grant Street, Pittsburgh, PA 15219 on September 19, 2019 at 10:00 AM The sale
shall be “as is,” “where is,” free and clear of all liens and encumbrances. Only a limited time of ten (10)
minutes is being provided on the calendar. No witnesses will be heard. If there is an issue of fact, an
evidentiary hearing will be scheduled by the Court for a later date.

        The Trustee has received an initial offer of $80,000 for the Property. Higher or better offers will
be considered at the hearing. In order to bid at the sale hearing, a prospective bidder must place a deposit
of $1,000.00 in escrow with the Trustee and provide evidence of his or her ability to pay the balance of
the purchase price at the time of closing, either in the form of a letter from a bank indicating that the
proposed purchaser has the required funds on hand, a mortgage commitment letter, or similar
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documentation acceptable to the Trustee. Such deposit and documentation are due no later than 72 hours
prior to the day and time of the sale hearing.

        Closing shall occur on or before ten days from the date the Order of Sale becomes final, TIME
BEING OF THE ESSENCE, with all such payments to be via certified check, cashier’s check, or such
other forms of assured and guaranteed payment as may be acceptable to the Trustee’s counsel.
Possession shall be delivered at closing. Anyone wishing to bid should review the Trustee’s motion for
complete terms and conditions of the sale. Terms announced at sale will supersede the terms of any
prior notice.

       Additional information regarding the sale may be obtained by accessing the Court’s
website at http://www.pawb.uscourts.gov/easi.htm and contacting the Trustee’s attorney, Natalie
Lutz Cardiello, Esquire, 107 Huron Drive, Carnegie, PA 15106, (412) 276-4043.

        You are further instructed to file with the Clerk and serve upon the undersigned a response to the
Motion by no later than September 12, 2019 (i.e., seventeen (17) days after the date of service below),
in accordance with the Federal Rules of Bankruptcy Procedure, the Local Rules of this Court, and the
general procedures of the presiding judge as found on the Court’s webpage at www.pawb.uscourts.gov. If
you fail to timely file and serve a written response, an order granting the relief requested in the Motion
may be entered.

        You should take this Notice and the Motion to a lawyer at once.

Dated: August 15, 2019                               Respectfully submitted,


                                                     /s/Natalie Lutz Cardiello
                                                     Natalie Lutz Cardiello, Esquire
                                                     PA ID# 51296
                                                     107 Huron Drive
                                                     Carnegie, PA 15106
                                                     ncardiello@comcast.net
                                                     (412) 276-4043
